Fill in this information to identify the case:

Debtor name         The Roman Catholic Bishop of Santa Rosa

United States Bankruptcy Court for the:     Northern District of California

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 10, 2023                  X    /s/ Bishop Robert F. Vasa
                                                             Signature of individual signing on behalf of debtor

                                                             Bishop Robert F. Vasa
                                                             Printed name

                                                             Bishop
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




         Case: 23-10113               Doc# 1-1          Filed: 03/13/23              Entered: 03/13/23 08:34:58                Page 1 of 4
Fill in this information to identify the case:
Debtor name The Roman Catholic Bishop of Santa Rosa
United States Bankruptcy Court for the: Northern District of California                                                                   Check if this is an
Case number (if known):                                                                                                                   amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and complete         Name, telephone number and email      Nature of claim       Indicate if   Amount of claim
mailing address, including zip code   address of creditor contact           (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                            trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim
                                                                            loans,              unliquidated,   amount and deduction for value of collateral or setoff to
                                                                            professional         or disputed    calculate unsecured claim.
                                                                            services, and                       Total claim, if         Deduction for Unsecured claim
                                                                            government                          partially secured value of
                                                                            contracts)                                                  collateral or
                                                                                                                                        setoff
Archiocese of San Francisco           Paul Gaspari, Esq                     Note Payable                                                                    $1,410,000.00
c/o Weintraub Tobin Chediak           pgaspari@weintraub.com
Coleman Grodin Law Corp.              (415) 772-9618
475 Sansome St., Ste 510
San Francisco, CA 94111

Paula Carney
1 Peter Yorke Way                     carneyp@sfarch.org
San Francisco, CA 94109               (415) 614-5500



Healdsburg Printing                   Joe Vetter                       Trade                                                                                     $7,535.94
30 Mill Street                        joev_headsburgprinting@outlook.c
Healdsburg, CA 94558                  om
                                      (707) 433-1680
Nicolay Consulting Group              Anthony Nicolay                  Professional                                                                              $6,583.42
231 Sansome St.                                                        Services
Suite 300                             anicolay@nicolayconsulting.com
San Francisco, CA 94104               (415) 705-6133
Minuteman Press                       santarosa@minutemanpress.com Trade                                                                                         $1,024.62
112 Commercial Court #4               (707) 578-6004
Santa Rosa, CA 95407

Autom                                                                       Trade                                                                                   $894.77
5226 S31st Place
Phoenix, AZ 85040                     (800) 521-2914

Pacific Gas & Electric                                                      Utility                                                                                $812.95
P.O. Box 997300
Sacramento, CA 95899-7300             (800) 743-5000

Denver Bookbinding Co Inc.                                                  Trade                                                                                   $485.05
1401 W. 47th Avenue                   dbbc@denverbook.com
Denver, CO 80211                      (303) 455-5521

American Bible Society                                                      Trade                                                                                   $143.68
101 N Independence Mall E
Floor 8                               (800) 322-4253
Philadelphia, PA 19106-2155


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 1




               Case: 23-10113            Doc# 1-1          Filed: 03/13/23              Entered: 03/13/23 08:34:58                         Page 2 of 4
Debtor     The Roman Catholic Bishop of Santa Rosa                                                   Case number (if known)
           Name

Name of creditor and complete         Name, telephone number and email       Nature of claim       Indicate if   Amount of claim
mailing address, including zip code   address of creditor contact            (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                             trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim
                                                                             loans,              unliquidated,   amount and deduction for value of collateral or setoff to
                                                                             professional         or disputed    calculate unsecured claim.
                                                                             services, and                       Total claim, if         Deduction for Unsecured claim
                                                                             government                          partially secured value of
                                                                             contracts)                                                  collateral or
                                                                                                                                         setoff
Federal Express                                                              Trade                                                                                   $131.87
P.O. Box 7221
Pasadena, CA 91109-7321               (800) 622-1147

AT&T Teleconference Services                                                 Utility                                                                                  $75.29
P.O. Box 5002
Carol Stream, IL 60197-5002           (800) 722-3481

Cotter Church Supplies                                                       Trade                                                                                    $74.38
1701 James M Wood Blvd.
Los Angeles, CA 90015-1001            (213) 385-3366

Together & Asamblea                                                          Trade                                                                                    $53.70
3852 E. First St.                     together@sspusa.org
Los Angeles, CA 90063                 (323) 266-3771

 Dennis Purificacion                                                         Employee                                                                                 $35.37
 130 Kennison Ct                                                             Expense
 Vallejo, CA 94589                    (707) 704-9944                         Reimbursement

John Doe 129                          Joseph George, Jr., Esq.               Tort Claimant       Contingent                                                        Unknown
c/o Joseph George Jr. Law Corp.       jgeorgejr@psyclaw.com                                      Unliquidated
601 University Ave                    (916) 623-4914                                             Disputed
Suite 270
Sacramento, CA 95825

 John Doe 130                         Joseph George, Jr., Esq.               Tort Claimant       Contingent                                                        Unknown
 c/o Joseph George Jr. Law Corp.      jgeorgejr@psyclaw.com                                      Unliquidated
 601 University Ave                   (916) 623-4914                                             Disputed
 Suite 270
 Sacramento, CA 95825

 John Doe SR 1136                     J. Michael Reck, Esq                   Tort Claimant       Contingent                                                        Unknown
 c/o Jeff Anderson & Associates       mreck@andersonadvocates.com                                Unliquidated
 12011 San Vicente Blvd               (949) 919-5693                                             Disputed
 Suite 700
 Los Angeles, CA 90049

 John Doe SR 1536                     J. Michael Reck, Esq.                  Tort Claimant       Contingent                                                        Unknown
 c/o Jeff Anderson & Associates       mreck@andersonadvocates.com                                Unliquidated
 12011 San Vicente Blvd               (949) 919-5693                                             Disputed
 Suite 700
 Los Angeles, CA 90049

 John Doe SR 424                      Irwin Zalkin, Esq.                     Tort Claimant       Contingent                                                        Unknown
 c/o The Zalkin Law Firm              irwin@zalkin.com                                           Unliquidated
 10590 W. Ocean Air Drive             (619) 330-1120                                             Disputed
 Suite 125
 San Diego, CA 92130

 John Doe SR 477                      Irwin Zalkin, Esq.                     Tort Claimant       Contingent                                                        Unknown
 c/o The Zalkin Law Firm              irwin@zalkin.com                                           Unliquidated
 10590 W. Ocean Air Drive             (619) 330-1120                                             Disputed
 Suite 125
 San Diego, CA 92130



Official form 204                        Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 2




               Case: 23-10113            Doc# 1-1           Filed: 03/13/23              Entered: 03/13/23 08:34:58                         Page 3 of 4
Debtor     The Roman Catholic Bishop of Santa Rosa                                                  Case number (if known)
           Name

Name of creditor and complete         Name, telephone number and email      Nature of claim       Indicate if   Amount of claim
mailing address, including zip code   address of creditor contact           (for example,          claim is     If the claim is fully unsecured, fill in only unsecured claim
                                                                            trade debts, bank    contingent,    amount. If claim is partially secured, fill in total claim
                                                                            loans,              unliquidated,   amount and deduction for value of collateral or setoff to
                                                                            professional         or disputed    calculate unsecured claim.
                                                                            services, and                       Total claim, if         Deduction for Unsecured claim
                                                                            government                          partially secured value of
                                                                            contracts)                                                  collateral or
                                                                                                                                        setoff
John Doe SR 99                        Mary Alexander, Esq.                  Tort Claimant       Contingent                                                        Unknown
c/o Mary Alexander & Assoc.           malexander@maryalexanderlaw.c                             Unliquidated
19100 Von Karman Ave                  om                                                        Disputed
Suite 800                             (415) 433-4440
Irvine, CA 92612




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                              page 3




               Case: 23-10113            Doc# 1-1          Filed: 03/13/23              Entered: 03/13/23 08:34:58                         Page 4 of 4
